POST ON FRONT OF BUILDING

BUILDING
PERMIT

HAS BEEN ISSUED for the erection, repair, or alteration, etc., of
this Building, under Permit No. PM22-1645 For the Address

Known As: 1031 SIBLEY BLVD, DOLTON, IL 60419

DESCRIPTION OF IMPROVEMENT:

REPLACING ROOF, SHINGLES ARCHITECTUAL FELT PAPER ICE &
WATER DRIP EDGES VENT CAPS:

PLANS, Specifications and Zoning covering the above building
have been examined by the Building Commissioner and Zoning
Officer, and are in compliance with all Village ordinances and
restrictions. In accordance with the Village ordinance on Building
Permits, THIS NOTICE MUST BE POSTED IN A CONSPICUOUS
PLACE ON THE FRONT OF THE BUILDING above mentioned from
the time construction is started until final inspection has been

made.
VILLAGE OF DOLTON
Dolton, Cook Country, Illinois

Date of Issue — 11/28/2022
Expires ‘2128/2023

